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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OKLAHOMA


  AMALIA DIAZ TORRES, surviving                   ) Case No. 4:08-cv-00185-CVE-TLW
  spouse of ELEAZAR TORRES GOMEZ                  )
                                                  )
                                 Plaintiff,       )
                                                  )
         -v-                                      )
                                                  )
  CINTAS CORPORATION, et al.                      )
                                                  )
                                 Defendants.      )
                                                  )
                                                  )


                DEFENDANT CINTAS CORPORATION’S MEMORANDUM IN
               OPPOSITION TO PLAINTIFF’S OMNIBUS MOTION IN LIMINE

  I.     INTRODUCTION

         In the guise of a single motion in limine, Plaintiff has presented the Court with thirty-

  eight separate requests to exclude broad and often impossibly defined classes of evidence from

  trial. This omnibus motion amounts to nothing more than an unsubstantiated wish list. None of

  Plaintiff’s requests is supported with citations to the record, none of Plaintiff’s requests provides

  any explanation of the reasoning behind it, and all but one of Plaintiff’s thirty-eight requests are

  unsupported by any legal authority (the other one is based on inapplicable law). Despite these

  crippling deficiencies, Cintas will stipulate to the following requests to narrow the issues in

  dispute and to relieve the Court as much as possible of the chore of sifting through the numerous,

  duplicative, vague, and unsupported requests in Plaintiff’s motion: (1) Request No. 6: Tax

  Consequences; (2) Request No. 11: Costs Incurred by Counsel; (3) Request No. 14: Filing of this

  Motion in Limine; (4) Request No. 15: Settlement Negotiations or Agreements; (5) Request No.

  20: Discovery Issues; (6) Request No. 25: Discovery; (7) Request No. 27: Interest; (8) Request

  No. 29: Residency and/or Citizenship; and (9) Request No. 36: Frivolous Lawsuits/Litigation
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  Crisis. As discussed below, however, the rest of the requests in Plaintiff’s motion are devoid of

  any legal or factual merit and, therefore, should be denied.

  II.    LAW AND ARGUMENT

         A.      Plaintiff’s Requests Are Conclusory and Unsupported by Law or Fact

         The central and foundational flaw of nearly all of the twenty-nine remaining requests in

  Plaintiff’s motion is a complete lack of a legal or factual basis and an absence of an explanation

  of why Plaintiff believes they should be granted. Courts have repeatedly denied motions in

  limine that suffer from these defects. E.g., Balzer v. South Kan. & Okla. R.R., Inc., No. 07-1132-

  KMH, 2009 WL 260841, at *2 (D. Kan. Feb. 4, 2009) (denying motion in limine because it was

  conclusory); Santos v. Boeing Co., No. 02 C 9310, 2004 WL 2515873, at *7-8 (N.D. Ill. Nov. 5,

  2004) (denying motions in limine because they were unsupported and conclusory); Native Am.

  Arts v. Earthdweller, Ltd., No. 01 C 2370, 2002 WL 1173513, at *5 (N.D. Ill. May 31, 2002)

  (same). In Santos, the Court denied Boeing’s twenty-two motions in limine because those

  motions (which, as here, were lumped together into “one” motion) “consisted[ed] of short

  portions of sentences laid out in the most conclusory fashion . . . , fail[ed] to provide any detailed

  elaboration for any of [their] positions[,] and [sometimes] . . . fail[ed] to provide any explanation

  at all for [their] position[s].” 2004 WL 2515873, at *7.

         Plaintiff’s motion suffers the same flaws and requires the same result. Plaintiff’s motion

  contains no citations to factual sources and is unsupported by any evidence. Moreover, except in

  Request No. 33, Plaintiff makes no effort to support her requests with legal authority or to

  explain the reasons she believes the Court should grant them. Instead, Plaintiff simply makes the

  most cursory of assertions—for example, that the Court should exclude evidence “[t]hat Plaintiff

  and/or their counsel are affiliated with any union group[,] specifically Unite, or have received

  support or help from such group” (Dkt. 260, Request No. 34)—without providing any law or


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  logic to back them up. These are precisely the type of requests that courts have denied as being

  insufficient. Santos, 2004 WL 2515873, at *7 (denying Boeing’s entire combined motion in

  limine and offering Boeing’s request to exclude “any reference to assertions made by Plaintiff in

  his letter to Kathleen Leaver of the [EEOC] of March 6/7, 2003, unless used for impeachment

  purposes” as an example of a request that “fails to provide any reason for its contention” that the

  evidence it addresses “should be barred”).

         Request No. 33 fares no better, because even though it contains legal authority to support

  its argument, that authority is simply inapplicable. In Request No. 33, Plaintiff asserts that

  Cintas should not be allowed to argue that it cannot be held liable on Plaintiff’s employer-

  intentional-tort claim unless the jury finds that someone in management took the action or

  possessed the knowledge necessary to support such a claim, because liability can be premised on

  the actions or knowledge of even a non-managerial employee as long as the employee was a

  servant of Cintas and was acting within the scope of his employment. (Dkt. 260, Request

  No. 33.)   This argument is fundamentally flawed, because it is premised on the erroneous

  assumption that an employer-intentional-tort claim is a species of vicarious liability, like

  respondeat superior. (See id. (titling request, “‘Management’ as a Requirement of Respondeat

  Superior Liability”).) It is not. Rather, it is a form of direct liability. Weimerskirch v. Coakley,

  No. 07AP-952, 2008 WL 928396, ¶¶ 7-8 (Ohio Ct. App. Apr. 8, 2008) (distinguishing employer-

  intentional-tort claim from respondeat superior and holding that employer-intentional-tort claim

  is a form of direct liability). Vicarious-liability principles do not apply. See id. (holding same).

         To prove an employer-intentional-tort claim of the type Plaintiff asserts, one must prove

  that “the employer . . . intended the act that caused the injury with knowledge that the injury was

  substantially certain to follow.” Parret v. Unicco Serv. Co., 127 P.3d 572, 579 (Okla. 2005)

  (emphasis added). Courts have held that “[k]nowledge of a dangerous condition or risk can only

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  be imputed to an employer through senior management.” Weimerskirch, 2008 WL 928396, ¶ 10

  (citing Witzgall v. Fenton Rigging Co., No. C870365, 1988 WL 68683 (Ohio Ct. App. June 29,

  1988)). Therefore, Plaintiff’s argument that she can prove her case with evidence of what certain

  unidentified non-managerial employees knew is wrong as a matter of law, and Request No. 33

  should be denied.

         B.      Many of Plaintiff’s Requests Are Vague and Overly Broad.

         In addition to being unsupported, a great number of Plaintiff’s requests are remarkably

  vague, in that they fail to define the types of evidence they seek to exclude with sufficient

  specificity, or are overly broad, in that they seek to categorically exclude evidence that is

  admissible in certain circumstances. Courts have also recognized these as bases for denying

  motions in limine.    Balzer, 2009 WL 260841, at *2 & n.5 (denying motion in limine for

  ambiguity and over-breadth); Native Am. Arts, 2002 WL 1173513, at *5 (same). Each of

  Plaintiff’s requests identified below suffers from one or both of these flaws:

                 1.      Request No. 3: Services Rendered Without Charge
                         Request No. 10: Trial Tactics
                         Request No. 13: Third Party Conduct/Negligence or [sic] Plaintiff
                         Request No. 17: New and Independent Cause and/or Pre-Existing Condition
                         Request No. 19: Trial Requests
                         Request No. 21: Lawyer’s Comments in Deposition
                         Request No. 23: Expert Opinions
                         Request No. 35: Advice to the Jury

         These requests are vague either because their phrasing makes their meaning inscrutable

  (Dkt. 260, Request No. 17, 21, 23) or because they leave key terms undefined (id., Request No. 3

  (“other services rendered”), 10 (“side-bar comments”), 13 (“third party”), 19 (“Plaintiff’s file”),

  21 (“side-bar remark”), 35 (“submission”)).       In addition, many of them are overly broad.

  Request Number 10, for example, appears to request a complete prohibition on requests for

  documents or stipulations from Plaintiff’s counsel before the jury at trial regardless of the

  circumstances in which such requests might be made. Accordingly, they should be denied.

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                 2.     Request No. 4: Ex Parte Statements and Hearsay/Failure to Call Witnesses
                        Request No. 5: Prior Arrests/Convictions and Pleas of Guilty
                        Request No. 8: Unauthenticated/Unproduced Documents or Evidence
                        Request No. 9: Referencing Audio-Visual Material
                        Request No. 12: Legal Conclusions
                        Request No. 24: Hearsay
                        Request No. 28: Golden Rule
                        Request No. 30: Expert Opinions About Whether Torres Received
                         Particular Training
                        Request No. 31: Expert Opinions About State of Mind
                        Request No. 37: Cintas General Reputation or Character
                        Request No. 38: Cintas Alleged General Safety Record

         These confusing requests seem to ask the Court to do nothing more than enforce the

  Federal Rules of Evidence concerning hearsay, prior crimes, authentication, lay witnesses,

  prejudice, and expert witnesses. To that extent, the requests are duplicative and should be

  denied. To the extent that they sweep more broadly, and ask the Court to exclude evidence that

  would be admissible under these rules, they go too far and should be denied. Finally, with

  respect to Requests No. 30 and 31, insofar as they seek the same relief as Plaintiff’s motions in

  limine to exclude the testimony of Cintas’s experts (Dr. William Howard, Mr. Edward

  Kwasnick, and Dr. Alfred Bowles), they should be denied for the reasons explained in Cintas’s

  forthcoming oppositions to those motions.

                 3.     Request No. 1: First Party Insurance
                        Request No. 2: Collateral Source Benefits

         These requests are overbroad insofar as they seek to preclude Cintas from offering

  evidence of the amounts Plaintiff has received and will continue to receive in Workers’

  Compensation payments. As explained in Defendant Cintas Corporation’s Motion in Limine for

  Credit for Workers’ Compensation Payments Made to Plaintiff (Dkt. 286), the Workers’

  Compensation payments Cintas has made to Plaintiff were from a fund Cintas established to

  protect itself from liability and, therefore, are not from a collateral source. (Id. at 2-4.) And,

  because they are not from a collateral source, Cintas is entitled to offset them from any damages


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  award Plaintiff might obtain against Cintas.         (Id.)   Therefore, evidence of the amount of

  Workers’ Compensation payments Plaintiff has received and will continue to receive is directly

  relevant to the amount of Plaintiff’s alleged damages, and Cintas should be permitted to present

  evidence on that issue.

                   4.     Request No. 7: Undisclosed Witnesses and Late Designated Witnesses

            The portion of this request asking that testimony concerning “matters on which

  documents have not been produced to Plaintiff” (Dkt. 260, Request No. 7) is patently overbroad.

  If an event were never described in a document, then a document concerning the event obviously

  could not be produced to Plaintiff, but that does not mean that the event never occurred. The

  2005 conveyor-safety training that Cintas Tulsa provided to its employees is a perfect example.

  Plaintiff claims that Cintas has not produced any documentation concerning this training

  (Dkt. 131, Mem. in Opp’n at 11), but the unrefuted testimony of the Cintas Tulsa employees is

  that the training did, in fact, occur. ((Exh. A, Cocanougher Dep. at 75:5-25, 76:1-20, 127:10-23;

  Exh. B, S. Jordan Dep. at 52:7-18, 54:16-57:4; Exh. C, Hegdale Dep. at 39:5-16; Exh. D, Olguin

  Dep., Vol. I at 70:11-18, 77:2-12).) Yet Plaintiff’s request, as written, would exclude this

  testimony simply because there is no documentation to corroborate it. There is no rule of

  evidence that would justify this result, and Plaintiff has cited none. Hence, this aspect of the

  request should be denied.

            The remainder of this request, seeking to preclude Cintas from calling or summarizing

  the testimony of any witness that it did not disclose before trial, is inconsistent with Federal Rule

  of Civil Procedure 26, which provides that a party need not disclose those witnesses that it

  intends to use solely for impeachment. Fed. R. Civ. P. 23(a)(3)(A). Accordingly, it should be

  denied.




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                  5.      Request No. 16: Contributory Negligence

          This request should be denied for the reasons set forth in Defendant Cintas Corporation’s

  Opposition to Plaintiff’s Motion in Limine to Exclude Evidence of Eleazar Torres’ Alleged

  Negligence or Comparative Fault, filed contemporaneously herewith.

                  6.      Request No. 18: Defendant’s Defenses Not Pled

          This request is plainly contrary to Federal Rule of Civil Procedure 15(b), which provides

  that pleadings may be amended at trial if a party objects but the Court finds the evidence will aid

  in presenting the merits and the objecting party fails to satisfy the Court that the party would be

  prejudiced. Fed. R. Civ. P. 15(b). This request therefore should be denied to the extent that it is

  inconsistent with the Federal Rules of Civil Procedure.

                  7.      Request No. 22: Evidence

          Plaintiff is attempting to impose a requirement upon Cintas that does not exist under the

  Federal Rules of Evidence. There are a host of circumstances in which Cintas could question a

  witness about documents or materials that have not “previously been identified, marked, offered

  and admitted into evidence,” such as to impeach a witness or to refresh a witness’s recollection.

  As a result, this request must fail.

                  8.      Request No. 26: Employment of Counsel
                          Request No. 34: Group Affiliations

          These requests are overly broad because they ignore the legitimate uses to which Cintas

  can put evidence concerning the circumstances in which Plaintiff retained her attorneys and

  concerning her affiliation with UNITE HERE! or another union group. For example, Cintas

  could permissibly use this evidence to show a witness’s bias or to impeach Plaintiff’s credibility.

  Notwithstanding that fact, Cintas does not intend to introduce evidence of Plaintiff’s group

  affiliations unless Plaintiff addresses the issue. Nevertheless, the request should be denied.



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                 9.      Request No. 32: Expert Opinions Based on Post-Incident Practices

         The scope of this request is unclear. To the extent it asks the Court to preclude Cintas’s

  experts from offering testimony about Cintas’s safety practices, training, or policies or the state

  of Cintas’s knowledge concerning safety matters that the experts developed based on analysis

  they conducted after the time of Mr. Torres’ accident (which would be all of their analysis, since

  they were not retained until after Plaintiff filed this suit), it is overly broad, because Cintas’s

  experts can properly form opinions based on their review of documents, testimony, and other

  information that relate to the Cintas safety practices, training, and policies that were in place

  prior to and at the time of the accident. Consequently, to that extent, it should be denied.

  III.   CONCLUSION

         For the foregoing reasons, Cintas requests that the Court deny Plaintiff’s counsel’s

  Motion in Limine.

                                                    Respectfully submitted,

                                                    /s/ Gregory M. Utter
                                                    Gregory M. Utter
                                                    Matthew K. Buck
                                                    KEATING MUETHING & KLEKAMP PLL
                                                    1 E. Fourth Street, Suite 1400
                                                    Cincinnati, OH 45202
                                                    Phone: (513) 579-6400
                                                    Fax: (513) 579-6457

                                                    Gene Robinson, OBA #10119
                                                    THE ROBINSON LAW FIRM, P.C.
                                                    1100 Remington Tower
                                                    5810 East Skelly Drive
                                                    Tulsa, Oklahoma 74135
                                                    Phone: (918) 587-2311
                                                    Fax: (918) 587-2317

                                                    Attorneys for Defendant, Cintas Corporation




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on March 19, 2010, I electronically filed the foregoing with the Clerk
  of Courts using the CM/ECF system and will serve counsel of record via electronic mail and
  ordinary mail.



                                                   /s/ Gregory M. Utter
                                                   Gregory M. Utter




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